          Case 5:22-cv-01588-JMG Document 49 Filed 03/31/23 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

H.C., et al.,                                          :
                          Plaintiffs,                  :
                                                       :
                          v.                           :       Civil No. 5:22-cv-01588-JMG
                                                       :
HON. BRIAN CHUDZIK, et al.,                            :
                  Defendants.                          :
__________________________________________

                                              ORDER

        AND NOW, this 31st day of March, 2023, upon consideration of Defendants Lancaster County

and Cheryl Steberger’s Motion to Dismiss (ECF No. 25), Defendants Miles Bixler, Brian Chudzik,

Andrew LeFever, and Edwin Tobin’s Motion to Dismiss (ECF No. 26), Plaintiffs’ response thereto

(ECF No. 34) and oral arguments held on the matter on November 16, 2022, and for the reasons stated

in the accompanying Memorandum Opinion, it IS HEREBY ORDERED that:

    1. Defendants’ Motions to Dismiss (ECF Nos. 25 & 26) are GRANTED in part and DENIED

        in part as follows: Count III of the Complaint is DISMISSED with prejudice and Count IV

        is DISMISSED without prejudice. Defendants’ motions to dismiss Counts I & II are

        DENIED.

    2. Plaintiffs are GRANTED leave to file an amended complaint no later than April 21, 2023 with

        respect to Count IV. If Plaintiffs do not file an amended complaint, Count IV will be dismissed

        with prejudice.

                                               BY THE COURT:


                                               /s/ John M. Gallagher
                                               JOHN M. GALLAGHER
                                               United States District Court Judge
